Case 1:15-cr-00536-PGG Document 1202 Filed 08/23/21 Page 1 of 8

AO 245B (Rev. 09/19) Judgment ina Criminal Case — (form modified within District on Sept. 30, 2019}
Sheet 1

UNITED STATES DISTRICT COURT
Southern District of New’ York .

 

 

 

 

UNITED STATES OF AMERICA JUDGMENT IN A CRIMINAL CASE
v. )
Omar Amanat ; Case Number: (S8)1:15CR00536- 4(PGG)
} USM Number: 77907-054
)
} John Meringolo
) Defendant's Atiomey
THE DEFENDANT:
CI pleaded guilty to count(s)
C1 pleaded nolo contendere to count(s)
which was accepted by the court.
Mi was found guilty on count(s) 1,2, 3, and 4
after a plea of not guilty.
The defendant is adjudicated guilty of these offenses:
Title & Section a of Offense Ended Count
18 U.S.C. § 1349 Conspiracy to Commit Wire Fraud 6/1/2042 1
18 U.S.C. § 1343 Wire Fraud 6/1/2012 2
The defendant is sentenced as provided in pages 2 through 8 of this judgment, The sentence is imposed pursuant to

the Sentencing Reform Act of 1984,
(1 The defendant has been found not guilty on count(s)

 

all unts in the underlying indi
fd Count(s) eee _ Ol is [J are dismissed on the motion of the United States.

 

_. ltis ee defendant nmust notify ee States attorney for os aa within 30 days of any dl e of aan, eon
or address restitution, costs, an assessments imposed judgment are
the defendant must notify the court and United States tttomey of material changes a econ ic circums farina. zon ~

 

8/19/2021
Date of Imposition of Judgment

Pa Aartesbe.

 

Signature of Judge

Hon. Paul G. Gardephe, U.S.D.J.

 

Name and Titte of Judge

8/23/2021

 

 
Case 1:15-cr-00536-PGG Document 1202 Filed 08/23/21 Page 2 of 8

AO 245B (Rev. 09/19) Judgment in a Criminal Case
Sheet 1A

DEFENDANT: Omar Amanat
CASE NUMBER: ({S8)1:15CR00536- 4(PGG)

ADDITIONAL COUNTS OF CONVICTION

Title & Section Nature of Offense Offense Ended Count
15 U.S.C. § 80b-6, Aiding and Abeiting Investment Adviser Fraud 6/1/2012 3

15 U.S.C. § 80b-17

18 U.S.C. § 371 Conspiracy to Commit Securities Fraud 9/1/2011 4

 
Case 1:15-cr-00536-PGG Document 1202 Filed 08/23/21 Page 3 of 8

AO 245B (Rev. 09/19} Judgment in Criminal Case
Sheet 2 — Imprisonment
Judgment — Page 3 of 8
DEFENDANT: Omar Amanat
CASE NUMBER: (S8)1:15CR00536- 4(PGG)

IMPRISONMENT

The defendant is hereby committed to the custody ofthe Federal Bureau of Prisons to be imprisoned for a
total term of:
5 years’ imprisonment on each of Counts One, Two, Three, and Four, with all terms to run concurrently.

Mi The court makes the following recommendations to the Bureau of Prisons:
The Court recommends that Defendant be incarcerated in a facility as close to New Jersey as possible.

W1 The defendant is remanded to the custody of the United States Marshal.

(1 The defendant shalt surrender to the United States Marshal for this district:
E1 at Oam O pm on
C1 as notified by the United States Marshal.

 

C1 The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
1 before 2 p.m. on
CJ as notified by the United States Marshal.
DC as notified by the Probation or Pretrial Services Office.

 

 

 

 

RETURN
I have executed this judgment as follows:
Defendant delivered on to
at » with a certified copy of this judgment.
UNITED STATES MARSHAL
By

 

DEPUTY UNITED STATES MARSHAL

 
Case 1:15-cr-00536-PGG Document 1202 Filed 08/23/21 Page 4 of 8

AO 245B (Rev. 09/19) Judgment in a Criminal Case
Sheet 3 — Supervised Reloase

 

DEFENDANT: Omar Amanat
CASE NUMBER: (S$8)1:15CR00536- 4(PGG)
SUPERVISED RELEASE

Upon release from imprisonment, you will be on supervised release for a term of:

three years on each of Counts One, Two, Three, and Four, with ail terms to run concurrently

MANDATORY CONDITIONS

You must not commit another federal, state or local crime.

You must not unlawfully possess a controlled substance.

You must refrain from any unlawful use of 2 controlled substance. You must submit to one drug test within 15 days of release from

imprisonment and at least two periodic drug tests thereafter, as determined by the court.

Zi The above drug testing condition is suspended, based on the court's determination that you pose a low risk of future
substance abuse. (check if applicable)

4. OU) You must make restitution in accordance with 18 U.S.C. §§ 3663 and 3663A or any other statute authorizing a sentence of
restitution, (check if applicable)

MA You must cooperate in the collection of DNA as directed by the probation officer. (check ¥ applicable)

OC You must comply with the requirements of the Sex Offender Registration and Notification Act (34 U.S.C. § 20901, ef seg.) as
directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in the location where you
reside, work, are a student, or were convicted of a qualifying offense. (check if applicable)

7.) You nuwst participate in an approved program for domestic violence. (check if applicable)

ws

na

You must comply with the standard conditions that have been adopted by this court as well as with any other conditions on the attached
page.

 
Case 1:15-cr-00536-PGG Document 1202 Filed 08/23/21 Page 5 of 8

AO 245B (Rev. 09/19) Judgment in a Criminal Case
Sheet 3A — Supervised Release

Judgment—Page "5 of y
DEFENDANT: Omar Amanat

CASE NUMBER: (S8)1:15CR00536- 4(PGG)

STANDARD CONDITIONS OF SUPERVISION

As part of your supervised release, you must comply with the following standard conditions of supervision. These conditions are imposed
because they establish the basic expectations for your behavior while on supervision and identify the minimum tools needed by probation
officers to keep informed, report to the court about, and bring about improvements in your conduct and condition.

1. You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of your

—— from imprisonment, unless the probation officer instructs you to report to a different probation office or within a different time
e.

2, After initially reporting to the probation office, you will receive instructions from the court or the probation officer about how and
when you must report to the probation officer, and you must report to the probation officer as instructed.

3. You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission from the
court or the probation officer.

4. You must answer truthfully the questions asked by your probation officer.

5. You must live at a place approved by the probation officer. If you plan to change where you live or anything about your living
arrangements (such as the people you live with), you must notify the probation officer at least 10 days before the change. If notifying
the probation officer in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72
hours of becoming aware of a change or expected change.

6. You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the probation officer to
take any items prohibited by the conditions of your supervision that he or she observes in plain view.

7. ‘You must work full time {at least 30 hours per week) at a lawful type of employment, unless the probation officer excuses you from
doing 30. If you do not have full-time employment you must try to find full-time employment, unless the probation officer excuses
you from doing so. If you plan to change where you work or anything about your work (such as your position or your job
responsibilities), you must notify the probation officer at least 10 days before the change. If notifying the probation officer at least 10
days in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72 hours of becoming
aware of a change or expected change.

8. You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone has been
convicted of a felony, you must not knowingly communicate or interact with that person without first getting the permission of the
probation officer.

9. Ifyou are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.

10. You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.c., anything that was
designed, or was modified for, the specific purpose of causing bodily injury or death to another person such as nunchakns ar tasers).

11. You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant without
first getting the permission of the court.

12. You must follow the instructions of the probation officer related to the conditions of supervision.

U.S. Probation Office Use Only
A USS. probation officer has instructed me on the conditions specified by the court and has provided me with a written copy of this

judgment containing these conditions. For further information regarding these conditions, see Overview of Probation and Supervised
Release Conditions, available at: www wscourts.gov.

Defendant's Signature Date

 

 
Case 1:15-cr-00536-PGG Document 1202 Filed 08/23/21 Page 6 of 8

AO 245B (Rev. 09/19) Judgment in a Criminal Case
Sheet 3D — Supervised Releases
ae

DEFENDANT: Omar Amanat
CASE NUMBER: (S$8)1:15CR00536- 4(PGG)

Fodgment—Page _ 6. of 8

SPECIAL CONDITIONS OF SUPERVISION

You must submit your person, and any property, residence, vehicle, papers, computer, or other electronic communication
or data storage device under your control to a search on the grounds that thera is a reasonable suspicion that a violation of
the terms of your supervised release may be found. Any search is to be conducted at a reasonabie time and ina
reasonable manner. Failure to submit to a search may be grounds for revocation. You must inform any other residents
that the premises may be subject to search pursuant to this condition.

You must provide the probation officer with access to any requested financial information, and you will not incur new credit
charges or open additional lines of credit without the approval of the probation officer.

You must participate in an outpatient mental health treatment program approved by the United States Probation Office. |
authorize the release of available psychological and psychiatric evaluations and reports to the health care provider.

 
Case 1:15-cr-00536-PGG Document 1202 Filed 08/23/21 Page 7 of 8

AO 2453 (Rev. 09/19) Judgment in a Criminal Case
Sheet 5 — Criminal Monctary Penalties

Judgment — Page 7 of 6
DEFENDANT: Omar Amanat

CASE NUMBER: (S8)1:15CR00536- 4(PGG)
CRIMINAL MONETARY PENALTIES

The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

Assessment Restitution Fine AVAA Asgessment* JVTA Assessment**
TOTALS § 400.00 $ $ 175,000.00 $ $
O The determination of restitution is deferred until . An Amended Judgment in a Criminal Case (AO 245C) will be
entered after such determination.

C1 The defendant must make restitution (including commumity restitution) to the following payees in the amount listed below.

If the defendant makes a partial pa: ee shall receive an approximate approximately popasceet yment, unles ified otherwise i
the priority order or percentage payineat payment column chi tele However, eae to 18 § 36640)-all ner all nonfederal victims mmst be paid
before the United States is paid.
Name of Payee Total Loss*** Restitution Ordered Priority or Percentage
TOTALS $ 0.00 $ 0.00

O_sRestitution amount ordered pursuant to plea agreement $

CJ The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

(_ = The court determined that the defendant does not have the ability to pay interest and it is ordered that:
C1 the interest requirement is waived forthe 1 fine [J restitution.

[1 the interest requirement forthe fine ([[ eestitution is modified as follows:

* Amy, Vicky, and Andy Child tang Aer of 2 Victim Assistance Act of 2018, Pub. L. No. 115-299.
** Justice for oy Vickie of Traffic 2015, Pub. L. No. 114-22.

*** Findings for the total amount under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on
or after September 13, 1994, Sa re To 996.

 
Case 1:15-cr-00536-PGG Document 1202 Filed 08/23/21 Page 8 of 8

AO 245B (Rev. 09/19) Judgment in a Criminal Case
Sheet 6 — Schedule of Payments

Jedgment—Page § of 8
DEFENDANT: Omar Amanat

CASE NUMBER: (S8)1:15CR00536- 4(PGG)

SCHEDULE OF PAYMENTS

Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties is due as follows:
A Wi Lumpsumpaymentof$ 175,400.00 due immediately, balance due

 

OO Ssonot later than , or
(] inaccordancewith 1) C, OF D, OF E,or G F below; or

B €) Payment to begin immediately (may be combined with OC, OD,or ([) F below); or

C OC Payment in equal (¢.g., weekly, monthly, quarterly) installments of $ over a period of

(e.g., months or years), to commence (e.g., 30 or 60 days) after the date of this judgment; or

D (1 Payment in equal (e.z., weekly, monthly, quarterly) installments of $ over a period of
(e.g., months or years), to commence {¢.g., 30 or 60 days) after release from imprisonment to a
term of supervision; or

 

E (0 Payment during the term of supervised release will commence within (e.g., 30 or 60 days) after release from
imprisonment, The court will set the payment plan based on an assessment of the defendant’s ability to pay at that time; or

F (1 Special instructions regarding the payment of criminal monetary penaities:

Unless the a expressl oniered otherwise, if of criminal monetary penalties is due as
y nciary pales, exci those es era the Federal Bux Bureau of Prisons’ Inmate

period of imprisonment. All criminal
Financial Responsibility oa eee are time tothe ee f the
The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

0 Joint and Several

Case N'
Beteount an and Co-Defendant N: Joint and Several Corresponding Payee,
Guchidling Afeninimambe} Total Amount ‘Amount ifapproprate

{] The defendant shall pay the cost of prosecution.

0

The defendant shall pay the following court cost(s):
1 The defendant shail forfeit the defendant’s interest in the following property to the United States:

shall be applied in the following order: (1) asse 3
(} fe grncpal (ine tere, (7) cman rexttton, (@) VA sensu, pests, and (10) cos eluding cos of

 
